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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                           CIVIL MINUTES - TRIAL

 Case No.         CV15-04424-AG (AJWx)                                                                         Date         September 21, 2017
 Title:           ATEN International Co., Ltd. v. Uniclass Technology Co., Ltd., et al

 Present: The Honorable            ANDREW J. GUILFORD
                           Dwayne Roberts                                                                Miriam Baird / Alex Joko
                            Deputy Clerk                                                          Court Reporter/Recorder, Tape No.


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
 Philip Riley, Mark Freeman, Manni Li, Irene Chen, Larry
                         Sandell                                                          Jen-Feng, Eric Wood, Joseph Pia, Robert Aycock

                              Day Court Trial                            3rd                Day Jury Trial
                                                st
           One day trial:           Begun (1 day);         X      Held & Continued;                 Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by                      XXXXX
                                                      each side
 X    Witnesses called, sworn and testified.          X   Exhibits Identified         X     Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                    defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                                  Jury resumes deliberations.
      Jury Verdict in favor of                            plaintiff(s)                    defendant(s) is read and filed.
      Jury polled.                                        Polling waived.
      Filed Witness & Exhibit Lists                       Filed jury notes.               Filed jury instructions.
      Judgment by Court for                                                               plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                           plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is             granted.             denied.           submitted.
      Motion for mistrial by                                                     is             granted.             denied.           submitted.
      Motion for Judgment/Directed Verdict by                                    is             granted.             denied.           submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
 X    Case continued to        September 22, 2017 at 8:00 a.m.                                for further trial/further jury deliberation.
      Other:


                                                                                                                        5          :         22

                                                                                Initials of Deputy Clerk               dr
cc:

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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES - TRIAL




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